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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF ILLINOIS
                                  EAST ST. LOUIS DIVISION

 THERESE BLAKE,
 Individually and on behalf of all others similarly
 situated,                                                        3:22-cv-66
                                                       Case No. ____________________

                     Plaintiff,                       JURY TRIAL DEMANDED

         v.                                           COLLECTIVE ACTION PURSUANT
                                                      TO 29 U.S.C. § 216(B)
 SHAH & SHAH, LLC, and SYED KHALID
 M. SHAH, Individually.                               CLASS ACTION PURSUANT TO FED. R.
                                                      CIV. P. 23
                     Defendants.


                ORIGINAL COLLECTIVE/CLASS ACTION COMPLAINT

       Plaintiff Therese Blake brings this action individually and on behalf of all current and former

similarly situated employees (hereinafter “Plaintiff and the Putative Class Members”) who were

employed by Shah & Shah, LLC (“Pizza World”) and Syed Khalid M. Shah (“Shah”) (collectively

“Defendants” or “Pizza World”), anywhere in the United States, at any time during the last three years

through the final disposition of this matter, to recover compensation, liquidated damages, and

attorneys’ fees and costs pursuant to the provisions of Sections 206, 207, and 216(b) of the Fair Labor

Standards Act of 1938, as amended 29 U.S.C. § 216(b), the Illinois Minimum Wage Law (hereinafter

“IMWL”), 820 ILCS 105/1 et seq., and the Illinois Wage Payment and Collection Act 820 ILCS 115/1

et seq. (“IWPCA”) (the IMWL and the IWPCA will be referred to collectively as the “Illinois Acts”).

Plaintiff Blake also brings this action individually and on behalf of all current and former Delivery

Drivers who were employed by Defendants anywhere in the State of Illinois at any time during the

last three years through the final disposition of this matter, to recover unpaid business expenses,

liquidated damages, and attorneys’ fees and costs pursuant to the Illinois Acts.
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        Plaintiff’s FLSA claims are asserted as a collective action under Section 16(b) of the FLSA, 29

U.S.C. § 216(b), while the two state law claims are asserted as class actions under the Federal Rule of

Civil Procedure 23. The following allegations are based on personal knowledge as to Plaintiff’s own

conduct and are made on information and belief as to the acts of others.

                                                I.
                                             OVERVIEW

        1.      This is a collective action to recover overtime wages and liquidated damages brought

pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201–19 and class actions pursuant

to the state laws of Illinois and FED. R. CIV. P. 23 to recover unpaid business expenses, unpaid

overtime, and other applicable penalties.

        2.      Plaintiff and the Putative Class Members are those similarly situated persons who

worked for Defendants as Store Managers, anywhere in the United States, at any time during the last

three years through the final disposition of this matter, and have not been paid overtime in violation

of state and federal law.

        3.      Plaintiff and the Business Expense Class Members are those similarly situated persons

who worked for Defendants as Delivery Drivers, anywhere in the State of Illinois, at any time during

the last three years through the final disposition of this matter, and have not been reimbursed for

necessary expenses in violation of Illinois state law.

        4.      Although Plaintiff and the Putative Class Members routinely worked (and continue to

work) in excess of forty (40) hours per workweek, Plaintiff and the Putative Class Members were not

paid overtime of at least one and one-half their regular rates for all hours worked in excess of forty

(40) hours per workweek.

        5.      Plaintiff and the Business Expense Class Members routinely incurred necessary

expenses that were required in order to discharge their duties on behalf of Defendants. Even though




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such expenses were required in the performance of their duties, Defendants failed to reimburse

Plaintiff and the Business Expenses Class Members for their reasonably incurred expenses.

        6.       The decision by Defendants not to pay overtime compensation to Plaintiff and the

Putative Class Members was neither reasonable nor in good faith.

        7.       Defendants knowingly and deliberately failed to compensate Plaintiff and the Putative

Class Members overtime of at least one and one-half their regular rates for all hours worked in excess

of forty (40) hours per workweek.

        8.       Plaintiff and the Putative Class Members did not (and currently do not) perform work

that meets the definition of exempt work under the FLSA or Illinois state law.

        9.       Defendants knowingly and deliberately misclassified Plaintiff and the Putative Class

Members as exempt employees not entitled to overtime compensation.

        10.      Plaintiff and the Putative Class Members therefore seek to recover all unpaid wages,

liquidated damages, and other damages owed under the FLSA as a collective action pursuant to 29

U.S.C. § 216(b).

        11.      Plaintiff prays that all similarly situated workers (Putative Class Members) be notified

of the pendency of this action to apprise them of their rights and provide them an opportunity to opt-

in to this lawsuit.

        12.      Plaintiff also prays that the Rule 23 classes are certified as defined herein, and that

Plaintiff Blake be named as the Class Representative for both Illinois classes.




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                                                  II.
                                             THE PARTIES

        13.       Plaintiff Therese Blake (“Blake”) was employed by Defendants during the relevant

time period. Plaintiff Blake did not receive overtime compensation for all hours worked in excess of

forty (40) hours per workweek. 1

        14.       The FLSA Collective Members are those current and former Store Managers

employed by Defendants, anywhere in the United States, at any time from January 10, 2019 through

the final disposition of this matter, and have been subjected to the same illegal pay system under which

Plaintiff Blake worked and was paid.

        15.       The Illinois Overtime Class Members are those current and former Store Managers

who were employed by Defendants, anywhere in the State of Illinois, at any time from January 10,

2019 through the final disposition of this matter, and have been subjected to the same illegal pay

system under which Plaintiff Blake worked and was paid.

        16.       The Illinois Business Expenses Class Members are those current and former Delivery

Drivers who were employed by Defendants, anywhere in the State of Illinois, at any time from January

10, 2019 through the final disposition of this matter, and have been subjected to the same illegal pay

system under which Plaintiff Blake worked and was paid.

        17.       Defendant Shah & Shah, LLC d/b/a Pizza World (“Pizza World”) is a domestic

limited liability company, licensed to and doing business in the state of Illinois, and may be served

through its registered agent for service of process: James G. Fleshren, 791 Wall Street, Suite 100,

O’Fallon, Illinois 62269.

        18.       Defendant Syed Khalid M. Shah (“Shah”) is the Managing Member of Defendant

Pizza World and an employer as defined by 29 U.S.C. § 203(d). Along with Defendant Pizza World,



        1
            The written consent of Therese Blake is attached hereto as Exhibit “A.”



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Defendant Shah employed and/or jointly employed Plaintiff and the Putative Class Members.

Defendant Shah may be served with process at 3712 Round Hill Rd. STE 3, Swansea, Illinois

62226, or wherever he may be found.

        19.     Defendants are joint employers pursuant to 29 C.F.R. § 791.2. They have common

ownership, oversight and control over Pizza World and Plaintiff and the Putative Class Members. As

a result, all Defendants are responsible, both individually and jointly, for compliance with all of the

applicable provisions of the FLSA, including the overtime provisions, with respect to the entire

employment for the workweeks at issue in this case.

                                             III.
                                    JURISDICTION & VENUE

        20.     This Court has federal question jurisdiction over this case pursuant to 28 U.S.C. § 1331

as this is an action arising under 29 U.S.C. §§ 201–19.

        21.     This Court has supplemental jurisdiction over the additional Illinois state law claims

pursuant to 28 U.S.C. § 1367.

        22.     This Court has personal jurisdiction over Defendants because the cause of action arose

within this district as a result of Defendants’ conduct within this District and Division.

        23.     Venue is proper in the Southern District of Illinois because this is a judicial district

where a substantial part of the events or omissions giving rise to the claim occurred.

        24.     Specifically, Pizza World’s corporate headquarters are located in Swansea, Illinois, and

Plaintiff Blake performed work for Pizza World in Belleville, Illinois, all of which is located within this

District and Division.

        25.     Venue is therefore proper in this Court pursuant to 28 U.S.C. § 1391(b).




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                                                IV.
                                         ADDITIONAL FACTS

        26.        Defendants operate a series of pizza stores in the States of Illinois, Iowa, Missouri,

and Virginia. 2

                                     Defendants are Joint Employers

        27.        Defendants are joint employers pursuant to 29 C.F.R. § 791.2.

        28.        Defendants directly or indirectly hired Plaintiff Blake.

        29.        Defendants controlled Plaintiff Blake’s work schedules and conditions of

employment.

        30.        Defendants determined Plaintiff Blake’s rate and method of payment of wages.

        31.        Defendants maintained control, oversight, and direction over Plaintiff Blake, including

the promulgation and enforcement of policies affecting the payment of wages for overtime

compensation.

        32.        Defendants mutually benefitted from the work performed by Plaintiff Blake.

        33.        Defendants did not act entirely independently of each other and have not been

completely disassociated with respect to the work of Plaintiff Blake.

        34.        Defendants shared the services of Plaintiff Blake.

        35.        Defendants acted directly or indirectly in the interest of each other in relation to

Plaintiff Blake.

        36.        Specifically, Defendants dictated the practice goals and what pressing or tactical items

needed to be done in order to meet the goals of the respective Defendants and/or their clients.

        37.        Defendants had the power to hire and fire Plaintiff Blake.

        38.        Defendants maintained Plaintiff Blake’s employment records.



        2
         https://pizzaworldonline.com/stores/pizza-world-belleville/.



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        39.     As a result, all Defendants are responsible, both individually and jointly, for

compliance with all of the applicable provisions of the FLSA, including the overtime provisions, with

respect to the entire employment for the workweeks at issue in this case.

                                 Unpaid Overtime – Store Managers

        40.     To provide their services, Defendants employed (and continue to employ) numerous

workers—including Plaintiff and the individuals that make up the putative class.

        41.     Plaintiff and the Putative Class Members are similarly situated with respect to their job

duties, their pay structure and, as set forth below, the policies of Defendants resulting in the

complained of FLSA violations.

        42.     Plaintiff Blake was employed as a Delivery Driver and then as a Store Manager by

Defendants in Belleville, Illinois from approximately June 2020 until January 2021.

        43.     Plaintiff and the Putative Class Members’ job duties consisted of overseeing their

stores and watching their employees.

        44.     Plaintiff and the Putative Class Members worked long hours—specifically, Plaintiff

and the Putative Class Members frequently worked in excess of forty (40) hours each week.

        45.     The FLSA mandates that overtime be paid at one and one-half times an employee’s

regular rate of pay for all hours worked over 40 each week.

        46.     Plaintiff and the Putative Class Members regularly worked in excess of forty (40) hours

per week but never received overtime compensation.

        47.     Defendants denied Plaintiff and the Putative Class Members overtime pay as a result

of a widely applicable, illegal pay practice.

        48.     Specifically, although Defendants classified Plaintiff and the Putative Class Members

as exempt, Defendants paid them a salary that was less than $684.00 per week. See 29 C.F.R. § 541.




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        49.      Because Plaintiff and the Putative Class Members were not paid a salary of at least

$684.00 per week, they did not qualify as overtime exempt employees. 3

        50.      Defendants applied this pay practice despite clear and controlling law that states that

the Plaintiff and the Putative Class Members were not paid the minimum salary basis to qualify as

exempt from overtime under the FLSA.

                                Unpaid Overtime – Delivery Drivers

        51.      To provide their services, Defendants employed (and continues to employ) numerous

workers—including Plaintiff and the individuals that make up the Illinois Business Expenses class.

        52.      Plaintiff and the Illinois Business Expenses Class Members are similarly situated with

respect to their job duties, their pay structure and, as set forth below, the policies of Defendants

resulting in the complained of Illinois Acts violations.

        53.      Plaintiff and the Illinois Business Expenses Class Members job duties consisted of

delivering pizzas to customers’ homes.

        54.      As part of their jobs, Plaintiff and the Illinois Business Expenses Class Members would

use their personal vehicles to deliver pizzas on behalf of Defendants.

        55.      The Illinois Acts mandate that employers—like Defendants—reimburse employees

for all necessary expenditures or losses incurred by the employee within the employee’s scope of

employment and directly related to services performed for the employer. See 820 ILCS 115/9.5.

        56.      Plaintiff and the Illinois Business Expenses Class Members regularly incurred

expenses, such as purchasing gasoline, in order to perform their work for Defendants.

        57.      Defendants denied Plaintiff and the Illinois Business Expenses Class Members

expense reimbursements as a result of a widely applicable, illegal pay practice.




        3
            https://www.dol.gov/agencies/whd/fact-sheets/17g-overtime-salary.



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        58.     Defendants applied this pay practice despite clear and controlling law that states that

they were required to reimburse Plaintiff and the Illinois Business Expenses Class Members.

        59.     Defendants’ failure to pay Plaintiff and the Putative Class Members overtime

compensation for all hours worked in excess of forty (40) hours each workweek violated (and

continues to violate) the FLSA.

        60.     Defendants’ failure to reimburse Plaintiff and the Illinois Business Expenses Class

Members for necessary expenses violated (and continues to violate) the Illinois Acts.

        61.     Defendants knew or should have known that their failure to pay overtime

compensation to Plaintiff and the Putative Class Members was (and is) in violation of the FLSA.

        62.     Because Defendants did not pay Plaintiff and the Putative Class Members time and a

half for all hours worked in excess of forty (40) in a workweek and did not reimburse them for all

necessary expenses, Defendants’ pay policies and practices willfully violate the FLSA and Illinois Acts.

                                             V.
                                      CAUSES OF ACTION

                                         COUNT ONE
                       (Collective Action Alleging Violations of the FLSA)

A.      FLSA COVERAGE

        63.     Paragraphs 1–62 are fully incorporated herein.

        64.     The FLSA Collective is defined as:

        ALL STORE MANAGERS EMPLOYED BY PIZZA WORLD, ANYWHERE
        IN THE UNITED STATES, AT ANY TIME FROM JANUARY 10, 2019
        THROUGH THE FINAL DISPOSITION OF THIS MATTER (“FLSA
        Collective” or “FLSA Collective Members”).

        65.     At all times hereinafter mentioned, Defendants have been joint employers within the

meaning of Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

        66.     At all times hereinafter mentioned, Defendants have been an enterprise within the

meaning of Section 3(r) of the FLSA, 29 U.S.C. § 203(r).



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          67.   At all times hereinafter mentioned, Defendants has been an enterprise engaged in

commerce or in the production of goods for commerce within the meaning of Section 3(s)(1) of the

FLSA, 29 U.S.C. § 203(s)(1), in that said enterprise has had employees engaged in the operation of a

hospital and commerce or in the production of goods for commerce, or employees handling, selling,

or otherwise working on goods or materials that have been moved in or produced for commerce by

any person, or in any closely related process or occupation directly essential to the production thereof,

and in that that enterprise has had, and has, an annual gross volume of sales made or business done

of not less than $500,000.00 (exclusive of excise taxes at the retail level which are separately stated).

          68.   Specifically, Defendants operate on interstate highways, purchases materials through

commerce, transports materials through commerce and on the interstate highways, and conducts

transactions through commerce, including the use of credit cards, phones and/or cell phones,

electronic mail and the Internet.

          69.   During the respective periods of Plaintiff and the FLSA Collective Members’

employment by Defendants, these individuals provided services for Defendants that involved

interstate commerce for purposes of the FLSA.

          70.   In performing the operations described hereinabove, Plaintiff and the FLSA Collective

Members were engaged in commerce or in the production of goods for commerce within the meaning

of §§ 203(b), 203(i), 203(j), 206(a), and 207(a) of the FLSA. 29 U.S.C. §§ 203(b), 203(i), 203(j), 206(a),

207(a).

          71.   Specifically, Plaintiff and the FLSA Collective Members are (or were) employees who

served Defendants’ customers throughout the United States. 29 U.S.C. § 203(j).

          72.   At all times hereinafter mentioned, Plaintiff and the FLSA Collective Members are (or

were) individual employees who were engaged in commerce or in the production of goods for

commerce as required by 29 U.S.C. §§ 206–07.




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         73.    The proposed class of similarly situated employees, i.e. FLSA collective members,

sought to be certified pursuant to 29 U.S.C. § 216(b), is defined in Paragraph 64.

         74.    The precise size and identity of the proposed class should be ascertainable from the

business records, tax records, and/or employee and personnel records of Defendants.

B.       FAILURE TO PAY WAGES AND OVERTIME UNDER THE FAIR LABOR
         STANDARDS ACT

         75.    Defendants violated provisions of Sections 6, 7 and 15 of the FLSA, 29 U.S.C. §§ 206,

207, and 215(a)(2) by employing individuals in an enterprise engaged in commerce, the operation of a

restaurant, or in the production of goods for commerce within the meaning of the FLSA for

workweeks longer than forty (40) hours without compensating such non-exempt employees for all the

hours they worked in excess of forty (40) hours per week at rates at least one and one-half times the

regular rates for which they were employed.

         76.    Moreover, Defendants knowingly, willfully, and with reckless disregard carried out its

illegal pattern of failing to pay Plaintiff and other similarly situated employees the proper amount of

overtime compensation for all hours worked over forty (40) each week. 29 U.S.C. § 255(a).

         77.    Defendants knew or should have known their pay practices were in violation of the

FLSA.

         78.    Defendants are a sophisticated parties and employers, and therefore knew (or should

have known) its pay policies were in violation of the FLSA.

         79.    Plaintiff and the FLSA Collective Members, on the other hand, are (and were)

unsophisticated laborers who trusted Defendants to pay them according to the law.

         80.    The decision and practice by Defendants to not pay Plaintiff and the FLSA Collective

Members overtime for all hours worked over forty (40) each week was neither reasonable nor in good

faith.




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        81.       Accordingly, Plaintiff and the FLSA Collective Members are entitled to be paid

overtime wages for all hours worked in excess of forty (40) hours per workweek pursuant to the FLSA

in an amount equal to one-and-a-half times their regular rate of pay, plus liquidated damages, attorneys’

fees and costs.

C.      COLLECTIVE ACTION ALLEGATIONS

        82.       All previous paragraphs are incorporated as though fully set forth herein.

        83.       Pursuant to 29 U.S.C. § 216(b), this is a collective action filed on behalf of Defendants

employees who are (or were) similarly situated to Plaintiff with regard to the work they performed and

the manner in which they were paid.

        84.       Other similarly situated employees of Defendants have been victimized by Defendants

patterns, practices, and policies, which are in willful violation of the FLSA.

        85.       The FLSA Collective Members are defined in Paragraph 64.

        86.       Defendants’ failure to pay Plaintiff and the FLSA Collective Members overtime

compensation at the rates required by the FLSA, results from generally applicable policies and

practices of Defendants, and does not depend on the personal circumstances of Plaintiff or the FLSA

Collective Members.

        87.       Thus, Plaintiff’s experiences are typical of the experiences of the FLSA Collective

Members.

        88.       The specific job titles or precise job requirements of the various FLSA Collective

Members does not prevent collective treatment.

        89.       All of the FLSA Collective Members—regardless of their specific job titles, precise job

requirements, rates of pay, or job locations—are entitled to be properly compensated their overtime

wages for all hours worked in excess of forty (40) each week.




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        90.     Although the issues of damages may be individual in character, there is no detraction

from the common nucleus of liability facts.

        91.     Absent a collective action, many members of the proposed FLSA collective will not

likely obtain redress of their injuries and Defendants will retain the proceeds of its violations.

        92.     Moreover, individual litigation would be unduly burdensome to the judicial system.

Concentrating the litigation in one forum will promote judicial economy and parity among the claims

of the individual members of the classes and provide for judicial consistency.

        93.     Accordingly, the FLSA collective of similarly situated plaintiffs should be certified as

defined as in Paragraph 64 and notice should be promptly sent.

                                         COUNT TWO
                      (Class Action Alleging Violations of the Illinois Acts)

A.      ILLINOIS ACTS COVERAGE

        94.     Plaintiff incorporates by reference all paragraphs and allegations set forth in the

statement of facts of this complaint as though fully and completely set forth herein.

        95.     The Illinois Overtime Class is defined as:

        ALL STORE MANAGERS EMPLOYED BY PIZZA WORLD, ANYWHERE
        IN THE STATE OF ILLINOIS, AT ANY TIME FROM JANUARY 10, 2019
        THROUGH THE FINAL DISPOSITION OF THIS MATTER (“Illinois
        Overtime Class” or “Illinois Overtime Class Members”)

        96.     At all times hereinafter mentioned, Defendants were and have been “employers”

within the meaning of the Illinois Acts. See 820 ILCS § 115/1; see also 820 ILCS § 105/3(c)–(d).

        97.     At all times hereinafter mentioned, Plaintiff and the Illinois Overtime Class Members

have been “employees” within the meaning of the Illinois Acts. See id.

        98.     Plaintiff and the Illinois Overtime Class Members were or have been employed by

Defendants since January 10, 2019, and have been covered employees entitled to the protections of

the Illinois Acts and were not exempt from the protections of the Illinois Acts.




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        99.      The employers, Defendants, are not exempt from paying overtime benefits under the

Illinois Acts.

B.      FAILURE TO PAY WAGES IN ACCORDANCE WITH THE ILLINOIS ACTS

        100.     All previous paragraphs are incorporated as though fully set forth herein.

        101.     The Illinois Acts require employers like Defendants to pay overtime wages for all

hours worked in excess of forty (40) hours each workweek. See 820 ILCS § 105/12; see also 820 ILCS

§ 115/3.

        102.     Plaintiff and the Illinois Overtime Class Members are non-exempt employees who

are entitled to be paid overtime wages for all hours worked in excess of forty (40) hours each

workweek. See id.

        103.     Defendants have a company-wide policy and practice of failing to pay Plaintiff and the

Illinois Overtime Class Members overtime wages. 820 ILCS § 105/5.

        104.     Defendants have a continuing policy and practice of failing to pay overtime wages for

all hours worked in excess of forty (40) hours in a workweek. See 820 ILCS § 105/4a.

        105.     As a result of Defendants’ illegal and company-wide policies applicable to Plaintiff and

Illinois Overtime Class Members’ wages, and its failure to pay overtime wages to the Illinois Overtime

Class Members, Defendants violated the Illinois Acts.

        106.     Defendants’ failure to pay overtime wages for all hours worked in excess of forty (40)

in a workweek to the Illinois Overtime Class Members who performed work on behalf of Defendants

in Illinois is part of a continuing course of conduct.

        107.     Plaintiff and the Illinois Overtime Class Members who performed work on behalf of

Defendants in Illinois are entitled to invoke the benefits of the Illinois Acts, including but not limited

to 820 ILCS § 105/12(a); 820 ILCS § 115/14; 820 ILCS § 115/11; and 815 ILCS § 205/2.




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        108.    As a result, this action, “may encompass all violations that occurred as part of

Defendants’ continuing course of conduct regardless of the date on which they occurred.”

        109.    Plaintiff and the Illinois Overtime Class Members have suffered damages and continue

to suffer damages as a result of Defendants’ acts or omissions described herein; though Defendants

are in possession and control of necessary documents and information from which the Illinois

Overtime Class Members would be able to precisely calculated damages.

        110.    Plaintiff and the Illinois Overtime Class Members seek the amount of their

underpayments based on Defendants’ failure to pay overtime wages for all hours worked in excess of

forty (40) hours in a workweek, treble damages as liquidated damages, and such other legal and

equitable relief from Defendants’ willful conduct as the Court deems just and proper.

        111.    Accordingly, the Illinois Overtime Class should be certified as defined in Paragraph

95.

C.      ILLINOIS CLASS ALLEGATIONS

        112.    Plaintiff brings her Illinois claims pursuant to the Illinois Acts as a class action pursuant

to Rule 23 on behalf of all similarly situated individuals employed by Defendants to work in Illinois

since January 10, 2019.

        113.    Class action treatment of Plaintiff and the Illinois Overtime Class Members’ claims is

appropriate because, as alleged below, all of Rule 23’s class action requisites are satisfied.

        114.    The number of Illinois Overtime Class Members is so numerous that joinder of all

class members is impracticable.

        115.    Plaintiff is a member of the Illinois Overtime Class, her claims are typical of the claims

of the other Illinois Overtime Class Members, and she has no interests that are antagonistic to or in

conflict with the interests of the other Illinois Overtime Class Members.




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        116.     Plaintiff and her counsel will fairly and adequately represent the Illinois Overtime Class

Members and their interests.

        117.     Class certification is appropriate under Federal Rule of Civil Procedure 23(b)(3)

because common questions of law and fact predominate over questions affecting only individual class

members and because a class action is superior to other available methods for the fair and efficient

adjudication of this litigation.

        118.     Accordingly, the Illinois Overtime Class should be certified as defined in Paragraph

95.

                                         COUNT THREE
                       (Class Action Alleging Violations of the Illinois Acts)

A.      ILLINOIS ACTS COVERAGE

        119.     Plaintiff incorporates by reference all paragraphs and allegations set forth in the

statement of facts of this complaint as though fully and completely set forth herein.

        120.     The Illinois Business Expenses Class is defined as:

        ALL DELIVERY DRIVERS EMPLOYED BY PIZZA WORLD,
        ANYWHERE IN THE STATE OF ILLINOIS, AT ANY TIME FROM
        JANUARY 10, 2019 THROUGH THE FINAL DISPOSITION OF THIS
        MATTER (“Illinois Business Expenses Class” or “Illinois Business Expenses
        Members”)

        121.     At all times hereinafter mentioned, Defendants were and have been “employers”

within the meaning of the Illinois Acts. See 820 ILCS § 115/1; see also 820 ILCS § 105/3(c)–(d).

        122.     At all times hereinafter mentioned, Plaintiff Blake and the Illinois Overtime Class

Members have been “employees” within the meaning of the Illinois Acts. See id.

        123.     Plaintiff and the Illinois Business Expenses Class Members were or have been

employed by Defendants since January 10, 2019, and have been covered employees entitled to the

protections of the Illinois Acts and were not exempt from the protections of the Illinois Acts.




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        124.    The employers, Defendants, are not exempt from reimbursing employees of necessary

expenses incurred in the performance of their job duties.

B.      FAILURE TO PAY WAGES IN ACCORDANCE WITH THE ILLINOIS ACTS

        125.    All previous paragraphs are incorporated as though fully set forth herein.

        126.    The Illinois Acts require employers like Defendants to reimburse an employee for all

necessary expenditures or losses incurred by the employee within the employee's scope of employment

and directly related to services performed for the employer. See 820 ILCS § 115/9.5.

        127.    Plaintiff and the Illinois Business Expenses Class Members are employees who are

entitled to be reimbursed for their expenses. See id.

        128.    Defendants have a company-wide policy and practice of failing to reimburse Plaintiff

and the Illinois Business Expenses Class Members of their expenses. 820 ILCS § 105/5.

        129.    Defendants have a continuing policy and practice of failing to reimburse employees

for their expenses.

        130.    As a result of Defendants’ illegal and company-wide policies applicable to Plaintiff and

the Illinois Business Expenses Class Members’ wages, and its failure to reimburse the expenses of the

Illinois Business Expenses Class Members, Defendants violated the Illinois Acts.

        131.    Defendants’ failure to reimburse expenses of the Illinois Business Expenses Class

Members who performed work on behalf of Defendants in Illinois is part of a continuing course of

conduct.

        132.    Plaintiff and the Illinois Business Expenses Class Members who performed work on

behalf of Defendants in Illinois are entitled to invoke the benefits of the Illinois Acts, including but

not limited to 820 ILCS § 105/12(a); 820 ILCS § 115/14; 820 ILCS § 115/11; and 815 ILCS § 205/2.

        133.    As a result, this action, “may encompass all violations that occurred as part of

Defendants’ continuing course of conduct regardless of the date on which they occurred.”




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        134.     Plaintiff and the Illinois Business Expenses Class Members have suffered damages and

continue to suffer damages as a result of Defendants’ acts or omissions described herein; though

Defendants are in possession and control of necessary documents and information from which the

Illinois Business Expenses Class Members would be able to precisely calculated damages.

        135.     Plaintiff and the Illinois Business Expenses Class Members seek the amount of their

underpayments based on Defendants’ failure to reimburse them for the necessary expenses, treble

damages as liquidated damages, and such other legal and equitable relief from Defendants’ willful

conduct as the Court deems just and proper.

        136.     Accordingly, the Illinois Business Expenses Class should be certified as defined in

Paragraph 120.

C.      ILLINOIS CLASS ALLEGATIONS

        137.     Plaintiff brings her Illinois claims pursuant to the Illinois Acts as a class action pursuant

to Rule 23 on behalf of all similarly situated individuals employed by Defendants to work in Illinois

since January 10, 2019.

        138.     Class action treatment of Plaintiff and the Illinois Business Expenses Class Members’

claims is appropriate because, as alleged below, all of Rule 23’s class action requisites are satisfied.

        139.     The number of Illinois Business Expenses Class Members is so numerous that joinder

of all class members is impracticable.

        140.     Plaintiff is a member of the Illinois Business Expenses Class, her claims are typical of

the claims of other Illinois Business Expenses Class Members, and she has no interests that are

antagonistic to or in conflict with the interests of other class members.

        141.     Plaintiff and her counsel will fairly and adequately represent the Illinois Business

Expenses Class Members and their interests.




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        142.       Class certification is appropriate under Federal Rule of Civil Procedure 23(b)(3)

because common questions of law and fact predominate over questions affecting only individual class

members and because a class action is superior to other available methods for the fair and efficient

adjudication of this litigation.

        143.       Accordingly, the Illinois Class should be certified as defined in Paragraph 120.

                                                 VI.
                                           RELIEF SOUGHT

        144.       Plaintiff respectfully prays for judgment against Defendants as follows:

                   a.     For an Order certifying the FLSA Collective as defined in Paragraph 64 and

requiring Defendants to provide the names, addresses, e-mail addresses, telephone numbers, and

social security numbers of all putative collective action members;

                   b.     For an Order certifying the Illinois Overtime Class as defined in Paragraph 95

and designating Plaintiff Blake as the Class Representative for the Illinois Overtime Class;

                   c.     For an Order certifying the Illinois Business Expenses Class as defined in

Paragraph 120 and designating Plaintiff Blake as the Class Representative for the Illinois Business

Expenses Class;

                   d.     For an Order approving the form and content of a notice to be sent to the

FLSA Collective Members advising them of the pendency of this litigation and of their rights with

respect thereto;

                   e.     For an Order pursuant to Section 16(b) of the FLSA finding Defendants liable

for unpaid back wages due to Plaintiff (and those FLSA Collective Members who have joined in the

suit), and for liquidated damages equal in amount to the unpaid compensation found due to Plaintiff

(and those FLSA Collective Members who have joined in the suit);

                   f.     For an Order pursuant to Illinois law awarding Plaintiff Blake and the Illinois

Overtime Class Members unpaid wages and other damages allowed by law;



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                g.      For an Order pursuant to Illinois law awarding Plaintiff Blake and the Illinois

Business Expenses Class Members unpaid wages and other damages allowed by law;

                h.      For an Order awarding the costs of this action;

                i.      For an Order awarding attorneys’ fees;

                j.      For an Order awarding pre-judgment and post-judgment interest at the highest

rates allowed by law;

                k.      For an Order awarding Plaintiff Blake a service award as permitted by law;

                l.      For an Order compelling the accounting of the books and records of Pizza

World, at Pizza World expense; and

                m.      For an Order granting such other and further relief as may be necessary and

appropriate.




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Date: January 14, 2022                  Respectfully submitted,

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                                        Members




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                                CERTIFICATE OF SERVICE

        I, the attorney, hereby certify that on January 14, 2022, I filed the attached with the Clerk

of the Court using the ECF system, which will send such filing to all attorneys of record.


                                                      /s/ Ryan F. Stephan




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